                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                           CIVIL MINUTES – GENERAL

Case No.: 2:21-04765 CJC (ADS)                                 Date: June 25, 2021
Title: Tony Appleby v. CDCR, et al.


Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


              Kristee Hopkins                                None Reported
               Deputy Clerk                             Court Reporter / Recorder

    Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
              None Present                                    None Present

Proceedings:          (IN CHAMBERS) ORDER TO SHOW CAUSE RE: FILING
                      OF COMPLAINT

        On June 3, 2021, Plaintiff Tony Appleby, an inmate at California Health Care
Facility, filed a Civil Rights Complaint under 42 U.S.C. § 1983. [Dkt. No. 1]. On that
same day, Plaintiff filed an incomplete request to proceed without prepayment of filing
fees (“IFP Request”). See [Dkt. No. 2]. Specifically, no authorized officer has certified
the funds currently in Plaintiff’s trust account or the account’s monthly average for the
past six months. See id.

       If Plaintiff wishes to proceed with this lawsuit, he must either (1) pay the full
$400.00 filing fees, (2) file a complete IFP Request along with the necessary
accompanying documents, an authorization for disbursement of funds and a certified
copy of his prison trust fund account statement, or (3) show cause why he is unable to
do so by no later than July 9, 2021.

       Plaintiff is expressly warned that failure to file a timely response that
fully complies with this Order may result in dismissal of this action without
prejudice.




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       The Clerk is directed to mail Plaintiff a blank copy of the District’s Request to
Proceed Without Prepayment of Filing Fees with Declaration in Support (CV-60P) form
for Plaintiff to use to file the IFP Request.

       IT IS SO ORDERED.




                                                                    Initials of Clerk kh




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